       Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 1 of 22




                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


COALITION FOR INDEPENDENT
TECHNOLOGY RESEARCH,

               Plaintiff,

       v.                                       Civil Action No. 1:23-cv-783

GREG ABBOTT, in his official capacity as
Governor of the State of Texas,

STEVEN C. MCCRAW, in his official
capacity as Director and Colonel of the Texas
Department of Public Safety,

AMANDA CRAWFORD, in her official
capacity as Executive Director of the Texas
Department of Information Resources and
Chief Information Officer of Texas,

DALE RICHARDSON, in his official
capacity as Chief Operations Officer of the     DECLARATION OF
Texas Department of Information Resources,      DR. JACQUELINE VICKERY

ASHOK MAGO, LAURA WRIGHT, LINDY
RYDMAN, CARLOS MUNGUIA, MARY
DENNY, MILTON B. LEE, MELISA
DENIS, DANIEL FEEHAN, and JOHN
SCOTT JR., in their official capacities as
members of the Board of Regents of the
University of North Texas System, and

MICHAEL WILLIAMS, in his official
capacity as Chancellor of the University of
North Texas System,

               Defendants.
         Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 2 of 22




                    DECLARATION OF DR. JACQUELINE VICKERY

I, Jacqueline Vickery, declare:

       1.      I am a member of the Coalition for Independent Technology Research

(“Coalition”), which is the plaintiff in this matter, and I am submitting this declaration in support

of the Coalition’s motion for a preliminary injunction. I have personal knowledge of the facts set

forth herein and, if called to testify as a witness, I could do so competently under oath.

                                     Career and Background

       2.      I am currently an Associate Professor of Media Arts at the University of North

Texas (“UNT”) in Denton, Texas. I was hired as an Assistant Professor in Fall 2012, after

graduating with a PhD in Media Studies from the University of Texas at Austin. In Fall 2018, I

was promoted to Associate Professor with tenure. I am a media scholar and qualitative researcher.

My work focuses on how young people use digital and social media for informal learning, self-

expression, and activism. I am particularly interested in issues of media literacy and equity and

how they affect the policies that regulate young people’s media practices—in other words, what

rules govern the ways young people are allowed to interact with media, who makes these rules,

and what impact they have, in practice. I also research the ways that youth are discussed and

represented, particularly “moral panics” that instill fear about young people’s digital media

practices.

       3.      At UNT, I founded and co-facilitate the Youth Media Lab. The Youth Media Lab

is a cross-disciplinary project designed to enable youth to access, analyze, evaluate, and create

media that effects social change in their communities. It serves as a learning environment, research

lab, and an instructional system for sharing knowledge and improving advocacy.

       4.      I have authored and co-authored several books. In 2017, I published Worried About

the Wrong Things, a book about youth, risk, learning, and social media. In 2018, I co-authored The


                                                  2
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 3 of 22




Digital Edge, which focuses on how low-income youth of color navigate evolving social and

technological changes. And in 2018, I edited an anthology, called Mediating Misogyny, about the

intersections of digital technology, media, and gender.

       5.      My published work also discusses digital media privacy and surveillance; digital

literacy and equity in after-school clubs; anonymity in meme production, blogs, and online forums;

and issues of online femininity and gender performance. My work has been published in, among

other venues, Journal of Children and Media; Information, Communication & Society; Journal of

Media Literacy Education; Equity & Excellence in Education; Journal of Adolescent & Adult

Literacy; and Flow.

       6.      I frequently present at national and international conferences, including the

Association of Internet Researchers; the Console-ing Passions Feminist Media Conference, where

I also serve as a Board Member; and the Society for Cinema and Media Studies.

       7.      In addition to my research, I teach a number of courses that focus on youth, digital

media, gender, and literacy, including Digital Media & Society; Teen Media; Gender, Race &

Digital Media; Media in a Global Pandemic; Researching Gen Z Media; Digital Literacies &

Social Activism; Community Media Education; Social Media Strategies; Digital Media Studies

(graduate-only); and Intro to Graduate Studies in Media Arts (graduate-only).

       8.      To teach these courses, I assign and discuss a mix of digitally native media, popular

press, and blogs, in addition to peer-reviewed academic scholarship, textbooks, trade journals, and

policies. My classes incorporate case studies and examples from pop culture, law and policy,

current events, film, TV, documentaries, social media, and history as a way to apply academic

concepts to the real world.




                                                 3
         Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 4 of 22




       9.      My classes use a variety of tools to assess students’ understanding of the media that

we discuss in class, as well as other digital media trends that are relevant to them. Due to the

prevalence and significance of social media, many of my assignments focus on social media

explicitly. Even when they do not, students frequently choose to study and analyze social media

in their assignments and class discussions.

                                              TikTok

       10.     One social media platform that has factored heavily into my research and teaching

is TikTok. TikTok is a social media platform reported to have more than one billion monthly active

users, including some 150 million in the United States. Users can access TikTok through a web

browser, a desktop application, or a mobile phone application.

       11.     TikTok allows users to create, edit, and share short videos that incorporate audio

from TikTok’s Sound Library. Users can also watch and interact with videos posted by other users.

In the early days of TikTok, videos were restricted to a length of fifteen seconds. Now, some videos

can be up to ten minutes long, though under sixty seconds is the norm. Videos are typically

accompanied by a short description or “caption.”

       12.     TikTok has become an important platform for many content creators, in part

because of the extensive set of recording and editing tools that it offers. These tools significantly

reduce the friction and technical expertise necessary to create videos that are visually interesting

or that replicate certain formats.

       13.     With TikTok’s editing tools, users can trim and rearrange video clips, add visual

effects and cinematic transitions, and add text captions. An effect called “stitch” allows one user

to intersperse their own TikTok video with clips from another user’s TikTok video. This allows

the second creator to add commentary about the previous video. Another effect, called “duet,”




                                                 4
         Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 5 of 22




creates a split screen, allowing a creator to play their own video alongside another TikTok video.

TikTok also produces auto-generated captions and provides a “text-to-speech” feature that

generates a voiceover from a video’s written captions.

       14.     TikTok also offers an ever-expanding library of augmented-reality and interactive

effects that users can add to their videos. These effects include interactive elements like quizzes

and games, as well as green screens that allow creators to change their backgrounds or mimic

cinematic “special effects.” Newly added effects and audio clips frequently spur creators to

generate a flurry of videos that follow a similar pattern; especially popular patterns are sometimes

said to have generated “TikTok memes.”

       15.     TikTok also provides users with an array of audio editing tools. The most important

feature is the Sound Library, which allows users to browse different audio clips and add them to

the background of their videos. The TikTok Sound Library displays audio clips that are currently

popular in a section called “TikTok viral.” Many TikTok creators use and reuse these viral audio

clips to participate in trends and memes on the platform. Creators can also record or add their own

voiceovers and audio clips to the Sound Library.

       16.     In addition to the many features it offers to creators, TikTok gives viewers a set of

tools to discover content on the platform. The platform’s primary content-discovery mechanism is

its recommendation algorithm. When a user opens TikTok, they are brought to the “For You” page,

which serves as a personalized feed of videos, created based on the user’s interests, network, and

engagement. On the For You page, TikTok shows users one video at a time, and when one video

finishes playing, the feed automatically advances to the next recommended video.

       17.     TikTok’s recommendation algorithm responds to a user’s behavior on the platform,

adjusting the content it recommends based on factors like who a user follows, what videos a user




                                                 5
         Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 6 of 22




likes or clicks “not interested” on, what content a user posts, shares, and searches, and the amount

of time a user spends watching a given video. TikTok uses these inputs to “learn” what a user is

interested in, then recommends videos that have been well-received by other users with similar

interests. The algorithm is also optimized to ensure that diverse content is mixed into a user’s For

You feed, preventing the feed from becoming repetitive or homogenous.

       18.     TikTok also provides viewers with a variety of other ways to seek out content. For

example, viewers can click on the name of the audio track used in a video to find other videos that

use the same sound. Viewers can find videos that discuss certain topics by clicking on hyperlinked

keywords that creators include as “hashtags” alongside their videos. Viewers can use TikTok’s

search bar to look for other users (by searching for usernames) or videos, sounds, and livestreams

(by searching for keywords). Users can also click a “playlist” button at the bottom of some videos

to see other videos that the content creator recommends.

       19.     Lastly, TikTok is a “social” app. Users interact with one another by “liking” or

leaving comments on videos, following other users, creating duets, or sharing TikTok videos,

accounts, hashtags, or sounds.

       20.      Many TikTok users use the app to learn about politics, current events, and culture.

They have used the app to learn about issues such as the COVID-19 pandemic, racial justice, the

2020 U.S. election, mental health, immigration, and natural disasters. People use the interactive

and creative affordances of TikTok to generate ad-hoc communities related to particular topics for

the purposes of information-gathering, advocacy, education, professional identity development,

creative expression, and engagement with a public sphere. For some users, particularly youth,

TikTok has surpassed Google to become their primary search engine for learning about news,

politics, and culture. The conversations and circulation of content that take place on TikTok have




                                                 6
         Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 7 of 22




significantly shaped political campaigns, fundraising efforts, community advocacy, social

movements, identity development, education and literacy, and mental health for many users.

TikTok is integral to how many young people engage with each other, their culture, and local,

national, and global politics.

       21.     Many scholars—myself included—have raised concerns about certain of TikTok’s

features and practices, and about the implications of these features and practices for individual

privacy, mental health, and public discourse. The concerns raised about TikTok are similar to those

that have been raised about other social media platforms. As with all social media platforms, there

are concerns about what kinds of data is collected, by whom, and for what purposes. There are

legitimate concerns about how the algorithm determines what content to show users and how this

can potentially lead to the spread of misinformation, for example. As with all social media

platforms, there are concerns about the kind of content young people produce and access and the

platform’s potential to negatively impact their wellbeing and safety, such as through predatory

behaviors or content promoting self-harm. Media scholars, such as myself, are particularly

concerned with how the structures and goals of for-profit commercial platforms are at odds with

the societal responsibility to protect young people from exploitation and harm. But the important

point for present purposes is that criticisms that have been levied against TikTok could be levied

against other commercial platforms as well. TikTok’s practices, policies, and business model are

not meaningfully different from those of other commercial platforms.

                                              TikTok Use

       22.     I created a TikTok account in approximately 2019. Since then, I have used it to

conduct research, inform my teaching, and learn about other topics that interest me.




                                                7
           Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 8 of 22




       23.      TikTok is particularly relevant to my academic interests because it is

overwhelmingly used by young people. Because young people feel that TikTok “belongs” to them,

they see it as a venue for generational identity development, keeping up with news and current

events, responding to trauma and tragedy collectively, and bonding with peers. See, e.g.,

Jacqueline Vickery, Check Your Facts, Fetus: #GenZ vs. #Millennials and the Role of TikTok in

the         Generationing       Process,       Assoc.        of        Internet       Researchers,

https://doi.org/10.5210/spir.v2022i0.13103 (Mar. 29, 2023). Young people view TikTok

differently from more established and inter-generational social media platforms like Facebook and

Twitter.

       24.      Recently, I have used TikTok extensively in my research about two topics: Gen Z

and Millennial identities; and the ways young people respond to gun violence in the United States.

Videos, comments, the Sound Library, memes, metadata, and other information from TikTok have

formed the backbone of that research.

       25.      I have written a number of papers and given several presentations about my

research in these areas. In June 2023, I presented a research paper titled TikTok, #darkhumor, and

The Gendered Negotiations of Surviving A School Shooting at the Console-ing Passions Feminist

Media Conference in Calgary, Alberta. The paper analyzed #darkhumor and #schoolshooting

videos on TikTok to explore how the affordances of the platform emphasize play as a way for

young people to express generationally-specific trauma.

       26.      In November 2022, I presented a paper called “Check Your Facts, Fetus”: #GenZ

vs. #Millennials and the Role of TikTok in the Generationing Process at the Association of Internet

Researchers Conference in Dublin, Ireland. The paper analyzed the differences between the ways

that Gen Z and Millennials use TikTok and asked what role TikTok’s technological features—its




                                                8
         Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 9 of 22




platform logic, functions, and the tools it gives users access to—played in the collective

construction of generational borders between Gen Z and Millennials.

       27.     In June 2022, I presented a paper called Cheugy Millennials vs. Gen Z Drip Checks:

Unpacking TikTok’s Generational Wars at the Console-ing Passions Feminist Media Conference

in Orlando. The paper analyzed so-called “generational wars” memes in TikTok videos to argue

that framing the debates as generational conflicts masks Gen Z’s attempt to resist colonization of

their digital spaces and erases the gendered and racialized discourses within generational divides.

       28.     In October 2020, I presented a paper titled The Memification of #SchoolShootings

in the U.S.: Youth, TikTok, and Playful Mediated Bodies at the Association of Internet Researchers

Conference. (I presented the paper virtually.) To write the paper, I conducted a content and

discursive analysis of two hundred TikTok videos that were tagged #darkhumor and

#schoolshooting, using the videos to discuss how young people understand cultural trauma and

how they use TikTok to reclaim emotional control of uncontrollable situations.

       29.     In October 2019, I gave the two talks at universities in Australia on the topic, “What

Can the Playful Voice Teach Us About Media Literacy?” The talks relied heavily on examples of

youth-produced videos and memes on TikTok to illustrate the “mediated playful voice,” which I

argue is prevalent on TikTok and arises in part because of specific features of the TikTok platform,

like its use of sound libraries, stitches, duets, challenges, and in-app editing.

       30.     I have even used TikTok to present my research. Due to COVID, the Association

of Internet Researchers conference took place virtually in 2021. Participants were asked to create

a three-minute video about their research paper. Because my paper—“Dear Congress, Just Play

Dead”: TikTok’s Absurd Guide to Surviving #Lockdown—was about TikTok, it made sense to




                                                   9
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 10 of 22




create my presentation in the app. I co-created the video with my graduate research assistant at the

time.

        31.    I hope to continue using TikTok for my research in multiple ways. For example, I

am actively turning several of my TikTok-related conference papers into manuscripts for

publication. I have also been invited to contribute a chapter on TikTok titled, Dancing During

#Lockdown: School Shootings, TikTok, and the Playful Mediated Body, which will be included in

an edited visual methodologies book written by two criminology scholars in the Netherlands.

        32.    Each of these planned projects will require me to identify, watch, code, and analyze

more TikTok videos, comments, algorithms, and memes in order to build out a data collection for

analysis. Because many of the TikTok videos that form the basis of my draft papers are saved only

as links (rather than downloads on my computer), I will need to access the TikTok platform in

order to view them while I continue my work on the papers. I am also working on a new grant

application for the National Endowment for the Humanities that would fund a book-length project

tentatively titled Don’t Come to School Tomorrow: Narratives of Gun Violence in the U.S.. A

significant portion of the research will focus on TikTok memes related to rampage shootings in

schools, as well as interviews with young people about their use of TikTok. The proposed method

will involve young people sending me relevant TikTok videos they create or watch.

        33.    TikTok also plays a significant role in my teaching. Because I teach about digital

media and its use by young people, it is critical that my lessons are accurately informed about what

young people are saying and doing on the platform that is most popular among them. That platform

is TikTok. The trends, memes, and slang that I learn about on TikTok have frequently become

relevant examples and points of discussion in my classes. I have often incorporated examples from

TikTok when building my lecture slides, and when students have mentioned videos or trends that




                                                10
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 11 of 22




others in class are unfamiliar with, I have typically pulled up the videos to inform the class

conversation.

       34.      Some of my TikTok-related lessons and assignments have related to the content

that users post on TikTok, while many others have centered on the design and governance of the

platform as a platform with its own unique recommendation algorithm, content moderation

practices, search functions, organizational structure, rules, and design. When I teach such classes,

I often use TikTok to pull in videos that relate to the arguments, concepts, and theories that students

are learning about in their assigned readings. Sometimes, I have also asked students to go to

TikTok to find examples, conduct real-time searches to analyze the search algorithm, or to access

community guidelines and moderation policies.

       35.      Moreover, my students have frequently chosen to focus on TikTok when I have

allowed them to focus on a platform, influencer, or piece of content of their choice. Students have

chosen to discuss examples from TikTok in a host of visual essays, video essays, and research

papers, both for in-class exercises and homework assignments. For example, one group of students

chose to analyze body image and gender norms on TikTok in response to an open-ended prompt

that asked them to examine how self-identified members of Gen Z use media to negotiate their

collective identity. When I grade student assignments like these, I need to open the TikTok links

and watch the videos to determine whether they appropriately support the student’s analysis.

       36.      When students have submitted in-class exercises that include TikTok links and

samples, I have often asked a group of students to share their answers with the class, which

involves pulling up the videos so that the entire class can watch.

       37.      Before the TikTok ban, I planned to continue discussing TikTok in my classes and

using relevant, TikTok-related examples in the same way that I have in the past.




                                                  11
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 12 of 22




                         The Indispensability of TikTok to My Work

       38.    My research would absolutely not be possible without the use of TikTok. In all of

the papers discussed above, the primary focus of the research is TikTok and how young people are

using it. My goal is to study how young people use TikTok specifically, rather than social media

more broadly. As discussed above, TikTok offers unique affordances such as duet, stitching, in-

app video editing, green screens, and sound and music libraries that other apps do not offer. As

such, users’ practices on the app differ significantly from their practices on other apps such as

Twitter, Instagram, or YouTube. Due to these unique affordances, users develop different trends,

conversations, practices, and debates that are native to the TikTok platform. I could not conduct

my research into how young people respond to news and trauma or how they use the app to develop

a collective generational identity by any means other than spending a significant amount of time

on TikTok.

       39.    Likewise, other social media applications cannot substitute for TikTok in my

teaching. For example, in one of my classes, we typically watch several TikTok videos that can be

categorized as part of the same trend, meme, or challenge to consider who is participating, how,

and why. We start by seeing what the app recommends on the “For You” page, then I click on

“Sounds” to show other videos using the same sound. One purpose of the lesson is to study the

TikTok algorithm in real time and to observe the ways that content creators take advantage of

affordances that are unique to the TikTok app.

       40.    When teaching about the affordances of the TikTok platform, I typically ask

students to conduct an analysis of the user interface—that is, what is on their screen, what they

can do with the app, how certain functions are privileged and certain capacities are discouraged.




                                                 12
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 13 of 22




We then analyze the defaults and explore the settings of the app to understand how it privileges

particular identities, privacy settings, imagined users, or uses.

       41.     In another lesson, we study digital platform policies and community guidelines. To

do this, we typically look for examples of how content creators work within and resist content

moderation guidelines and how the TikTok app actually enforces its own policies. In these lessons,

we read TikTok’s policies by pulling them up on TikTok’s app or website.

       42.     In all of these examples, I use TikTok’s features to illustrate key concepts from the

learning objectives of my courses: how policies, practices, norms, algorithms, default settings,

privacy settings, and user interfaces shape and are shaped by a platform. I cannot teach these

lessons about TikTok without accessing content, search results, trends, policies, content, and

interfaces on TikTok, itself.

       43.     Likewise, I could not effectively teach my course without addressing TikTok.

TikTok is the dominant platform among young people and the place where digital culture is

evolving most rapidly. TikTok is also one of the fastest growing areas of scholarship within

internet studies. To ignore TikTok in my class would be like teaching about e-commerce without

discussing Amazon. Avoiding discussion of TikTok would also require me to shut down lines of

inquiry and analysis that my students raise in response to class assignments, readings, and

discussions, making in-class interaction significantly less relevant, engaging, and effective. Under

Texas’s new TikTok policies, I have already needed to do so.

                                          The TikTok Ban

       44.     On December 7th, 2022, Texas Governor Greg Abbott issued a Directive that

required all state agencies to ban the use of TikTok on state-owned devices and state-operated

networks. The Directive also required the Department of Public Safety and Department of




                                                  13
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 14 of 22




Information Resources to issue a Model Plan that would provide guidance for how state agencies

should ban the use of TikTok on personal devices that had access to certain state resources.

       45.     Because UNT is a state agency, the University complied with the Directive. In an

email sent to all UNT System employees on December 8th, 2022, the UNT System’s office of

Information Technology wrote that “[p]er Governor Abbott’s order,” (which was linked in the

email), “all faculty and staff across all UNT member institutions and UNT System Administration,

must immediately cease using or downloading TikTok on any institutionally issued and/or

managed devices” and ordered all verified UNT member institutions’ social media managers to

“freeze activity on all TikTok accounts immediately and until further notice.” UNT later blocked

the use of TikTok on university-owned WiFi and wired internet networks.

       46.     The UNT System is not granting exceptions that would allow the use of TikTok on

state-owned devices or networks, meaning that TikTok videos cannot be posted or submitted in

assignments on Canvas (the university’s learning management software), nor shown in class on

any state equipment. Faculty who use TikTok for research have been told that there will be no

exceptions that would allow us to use TikTok on our university-issued devices. On December 8th,

2022, Department of Communication Studies Chair, Suzanne Enck, sent an email to UNT’s

Provost and Vice President of Academic Affairs, Mike McPherson, and its Interim Executive

Dean, Jim Meernik. Her email explained that several faculty members used TikTok for research

and teaching and asked how such faculty members could continue their academic activities under

the ban. She also asked whether conducting TikTok-related research would negatively affect a

faculty member’s chances of getting tenure or promotion. McPherson responded the same day that,

in his understanding, “faculty and staff cannot use [TikTok] on any university-owned equipment,

for any reason” and that such a policy would be likely to remain in place unless the university got




                                                14
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 15 of 22




“softer guidance” from the Governor’s office. He added that he “[could not] promise that faculty

doing research about or involving [TikTok]” would be “safe.” (This exchange between Enck and

McPherson was later forwarded to me by Enck.)

       47.     On January 13th, 2023, I reached out to Meernik personally to explain how

important TikTok was to my research and teaching and to ask about an exception. Meernik replied

that he had “asked a few times about research that uses or studies TikTok and [had] not gotten any

responses,” and that “the higher-ups” were still sorting out the implications of the ban, in

consultation with “state leaders.” Though more guidance was promised in February, none has been

provided.

                           Interference with Teaching and Research

       48.     The TikTok ban has imposed profound burdens on my teaching and research.

       49.     Other than my cellphone and Amazon Kindle (which does not have access to the

app store and lacks the ability to play video content), all of the internet-connected devices in my

possession are owned by UNT. This means that, under the ban, I cannot download or use TikTok

on my laptop computer, the desktop computer in my on-campus office, the desktop computers in

the classrooms where I teach, the Samsung tablet I use when traveling, or the laptops and iPads I

use in my work for the Youth Media Lab.

       50.     Prior to the TikTok ban, I relied nearly exclusively on my university-owned laptop,

my university-owned on-campus desktop, and university-managed internet networks to conduct

my research, to prepare and present teaching materials, and to grade assignments.

       51.     Now, the only device I can use to access TikTok is my personal cellphone—but

even this workaround does not appear to be allowed by the ban. While it initially appeared that I

might be able to continue my research using my cellphone, the Model Plan that was issued after I




                                                15
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 16 of 22




received that advice requires state agencies—including public universities—to bar employees

from having TikTok on personal devices that are used to conduct state business. (The Plan defines

“state business” to include “accessing any state-owned data, applications, email accounts, or non-

public facing communications.”) By necessity, I use my cellphone to access a variety of university

and state resources, including my UNT email and calendar, SharePoint, Canvas, Microsoft Office,

and Zoom accounts. Removing these accounts from my phone would make it much more difficult

for me to respond to student concerns, monitor student assignments, manage my calendar and

schedule, communicate with my colleagues and research assistants, and participate in university

meetings.

       52.     In any event, doing my research with only my personal cellphone is not feasible.

As noted above, my research requires me to view, analyze, and compile significant numbers of

TikTok videos and data about creators, algorithms, and metadata. Prior to the ban, I would open

TikTok on my computer so that I could easily open multiple browser tabs at once. This made it

possible for me switch back and forth quickly between multiple videos that I was analyzing,

coding, or comparing. The browser also enabled me to organize and sort large numbers of videos,

either as bookmarks in my browser or as lists of links that I could open with one click.

       53.     Viewing TikTok videos on my phone imposes significant constraints. I can have

only one video open at a time, and it is cumbersome to navigate between videos. The TikTok app

has not, historically, allowed users to organize saved videos or create “playlists” of other users’

content, which means that after I watch one video on my phone, I have to leave that video, go back

to my “favorites” page—which has a disorganized array of videos I have saved for all of my

various research projects—scroll through hundreds of saved videos until I find the next one I want,




                                                16
         Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 17 of 22




click on it and watch it, then exit, and repeat.1 When coding and analyzing TikTok content, I also

need to access the comments, the creator’s profile, stitches made using the original video, and the

video’s metadata, which requires leaving the original content. If I were using a browser on a

desktop or laptop computer, I could use the “back” button to return to the original content, but the

mobile app does not have a similar feature, which can make it challenging or impossible to return

to or even locate the original video. TikTok’s lengthy and evolving policy and community

guidelines pages are also not easily searchable in the app as compared to the browser, impairing

my ability to analyze them.

         54.      In theory, it might be possible for me to download TikTok videos from my

cellphone and then use the downloaded videos as the basis for research. In practice, this is not

feasible. First, from a cellphone, it is difficult to download a TikTok video for later reference.

Doing so requires me to open the video on my phone, download it, upload it to Google Drive—

because batched video files are too large to email—open Google Drive on my computer, download

the video to my computer, and file the video in the appropriate folder. Even this convoluted and

time-consuming process is not available in every circumstance, because not all TikToks have a

download option. For example, TikTok does not allow users to download videos that were posted

by users under the age of 16. Because my research focuses on young people, a significant number

of the videos I analyze are subject to this rule and cannot be downloaded.

         55.      Second, downloaded videos do not contain—or allow ready access to—all of the

metadata and comments that I need to conduct the kind of interactive research that my work

requires. For example, if I want to click on the sound playing in a video to see what other videos



1
 TikTok recently introduced a “collections” feature that allows me to organize videos that I now add to my “favorites.”
However, because there is no easy way to batch previously saved videos and organize them, hundreds of videos remain
uncategorized in my “favorites” page.


                                                         17
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 18 of 22




are using that same sound, or I want to click on a hashtag to see how others are using it, or I want

to click on the creator’s profile to learn more about them, or I want to read the comments to see

how people are reacting to a video, or I want to know how many views and shares the video has

received, then I have to go back to my phone and locate the video to conduct this kind of

information gathering research. If I find anything that is relevant, I have to screenshot or download

it and start this entire process again. My research also requires me to evaluate comments under

videos, video metadata, and other, more interactive features that are difficult to transport out of the

TikTok platform. Before the ban, I could easily scroll, read, and search for comments for analysis,

including easily copying and pasting comments into my datasets. Now, I have to copy them from

my phone, open an email application, paste them into an email, send them to myself, open that

email on my computer, then copy and paste them into my dataset for analysis.

       56.     In short, using my cellphone is a cumbersome and time-consuming workaround

that has significantly delayed the progress of my research, especially my ability to identify,

organize, and analyze videos. It has also made it nearly impossible to include TikTok videos in

lectures, conference presentations, and invited research talks.

       57.     For example, in April 2023, I presented a research paper titled Unpacking the

Gendered Discourses of TikTok’s Generational Wars at the Society for Cinema and Media Studies

in Denver. Due to the TikTok ban, I was unable to continue my data collection; I could only

analyze the limited number of videos that I had downloaded prior to December 2022. Although I

had access to a limited downloaded dataset, I could not access the comments or data about the

videos (e.g. how many views, stitches, etc.). I could not click on the hashtags or audio to discover

how the memes had evolved, who was engaging with the content, or see what other content the

creators had posted. An earlier iteration of the presentation (started in June 2022, prior to the ban)




                                                  18
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 19 of 22




analyzed videos that I had not downloaded and could no longer access. For other examples in the

paper, I had to write detailed descriptions because I could not access them on TikTok and I was

unable to find them re-posted to another platform. Detailed descriptions are a limiting substitute

for showing media clips at a media conference: not only do written descriptions of content take up

valuable presentation time, but they deny audiences the opportunity to experience and interpret the

data based on their own expertise.

       58.     The TikTok ban has also weakened several of my in-progress research papers. For

example, there are several videos from the June 2022 “Generational Wars” conference presentation

that I have lost access to due to the ban, so I will be forced to cut them from the manuscript. My

analysis relies on these specific examples and without access to the content, my argument will be

weakened or must be detrimentally reworked. The school-shooting conference paper and

manuscript I am currently working on has also been significantly impacted. Not only can I not

update my dataset with newer examples, but the majority of my dataset is content produced by

high school students and cannot be downloaded. Because I cannot download the videos or open

hyperlinks to them, the examples will have to be removed from my analysis, argument, and

presentation and my analysis will exclude relevant examples from 2023 that I would have

otherwise included.

       59.     The TikTok ban has also impaired my ability to review other scholars’ research and

build my own knowledgebase. I have agreed to peer-review a book chapter manuscript related to

media targeted at children and adolescent audiences. The manuscript includes TikTok links in the

bibliography and in the captions of screenshots included in the body text. Clicking these links and

verifying the author’s analysis is an important part of the peer-review process, but I cannot do so

on my work computers or my office wireless network. Even outside of the peer-review process, I




                                                19
        Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 20 of 22




read lots of other scholars’ work to inform my research and teaching. These papers often include

links to TikTok that I can now watch only on my cellphone, making it much harder to be informed

about developments in my field.

       60.     In addition, the TikTok ban has made my teaching significantly more difficult. As

discussed above, TikTok has played an important role in my teaching—I use TikTok-related

examples in my lectures, I give TikTok-related assignments and readings, and I respond to TikTok-

related examples when students raise them in class or their assignments. However, I can no longer

use my university-owned laptop or university-owned desktop to source TikTok links to include in

my lecture slides, and I can no longer open TikTok links on the university-owned classroom

computer. I can no longer share the links with students by posting them on Canvas, our course

management system, because it is a university-owned resource.

       61.     Some portions of my TikTok-related teaching are impossible to replicate under the

ban. Lessons about TikTok’s search results, algorithmic recommendations, trends and memes,

comments and user interactions, user interfaces and affordances, hyperlinks, and sound libraries

all require actual, real-time engagement with the platform and the ability to click on links, scroll,

and search. These functions cannot be captured or downloaded ahead of time. As such, I have had

to abandon this aspect of my teaching all together.

       62.     Using examples of TikTok content in class has also become much more difficult.

Now, I have to employ the unwieldy process outlined above: download the video to my phone,

upload it to Google Drive, open it on my computer, download it to my computer, and embed it in

my lecture presentation.




                                                 20
           Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 21 of 22




       63.      As a result of the ban, I now use far fewer TikTok videos in my lectures and

discussions. Instead, I try to find compilations of TikTok videos that have been posted on

YouTube—which is very time-consuming and often unsuccessful.

       64.      Even if downloading videos were a viable workaround that allowed me to prepare

my lecture slides, the ban still makes it impossible for me to pull up TikTok videos “on the fly”

when student-generated examples arise during class discussion. This has made class discussion

more difficult to steer and engage with, for both students and myself.

       65.      Many of my students are also unable to access TikTok in class. While students can

access TikTok on their cellphones if they use their personal data plans, about one third of my

students are “laptop- or tablet-only” in class. Because TikTok is blocked on university WiFi, these

students have no way to access TikTok for an in-class assignment. Given this, I no longer give in-

class assignments that require students to use TikTok.

       66.      Lastly, grading student assignments that use TikTok has become significantly more

difficult. I use a university-owned computer to grade. Because I cannot open TikTok links on this

computer, I have to open Canvas on my phone, open the student’s assignment, find the relevant

link, click on it and watch it on my phone, then return to my university computer to leave my

assessment for students. As a result, grading is more time-consuming and more difficult, and time

that I would previously have spent engaging with the students’ work is wasted on technical tasks

instead.

       67.      If the ban prohibits me from using even my personal cellphone to access TikTok,

even the limited workarounds I have identified to continue using the service in my teaching and

research would be off limits.

       68.      I declare under penalty of perjury that the foregoing is true and correct.




                                                 21
       Case 1:23-cv-00783-DII Document 20-2 Filed 09/07/23 Page 22 of 22




                                        Respectfully submitted,




                                        Jacqueline Vickery
August 30, 2023




                                      22
